Case 24-50512-grs Doc27 Filed 05/14/24 Entered 05/14/24 12:04:15 Desc Main
Document__ Page 1 of 3
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‘Debtor 1 Donald Anthony Fitzpatrick
First Name Middle Name Last Name
Debtor 2 Ashley Louise Fitzpatrick
| (Spouse ff, filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: © EASTERN DISTRICT OF KENTUCKY
Case number 24-50512-grs
: (if known) OO Check if this is an

Official Form 106C
Schedule C: The Property You Claim as Exempt

amended filing

4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and

case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited

to the applicable statutory amount.
Identify the Property You Claim as Exempt __

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

DO You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
HH You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption.

Schedule A/B
1152 Red Lick Road Berea, KY 40403 $337,500.00 $55,800.00 11 U.S.C. § 522(d)(1)

Madison County
Line from Schedule A/B: 1.1 O 100% of fair market value, up to
any applicable statutory limit

2019 Toyota Tundra $42,000.00 $5,965.00 11 U.S.C. § 522(d)(2)

Line from Schedule A/B: 3.4

OC 100% of fair market value, up to
any applicable statutory limit

2014 Chevrolet Express $10,250.00 $2,935.00 11 U.S.C. § 522(d)(2)

Line from Schedule A/B: 3.6

O 100% of fair market value, up to
any applicable statutory limit

Stove, refrigerator, dishwasher, $5,000.00 $5,000.00 11 U.S.C. § 522(d)(3)
microwave, washer/dryer, two bed . :
suites, sofa, chair, sectional O 100% of fair market value, up to
Line from Schedule A/B: 6.1 any applicable statutory limit
Three televisions, two cell phones, $2,000.00 $2,000.00 11 U.S.C. § 522(d)(3)
four computers, one printer, one
Playstation O 100% of fair market value, up to
Line from Schedule A/B: 7.1 any applicable statutory limit
Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 3
Case 24-50512-grs Doc27 Filed 05/14/24 Entered 05/14/24 12:04:15 Desc Main
Document Page 2of3

Debtor1 Donald Anthony Fitzpatrick

Debtor2 Ashley Louise Fitzpatrick Case number (ifknown)  24-50512-grs
Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Bowflex exercise equipment $300.00 mf $300.00 11 U.S.C. § 522(d)(5)

Line from Schedule A/B: 9.1

O 400% of fair market value, up to
any applicable statutory limit

Suits, dress clothes, casual clothes, $1,000.00 mf $1,000.00 11 U.S.C. § 522(d)(3)
shoes —— a
Line from Schedule A/B: 11.1 OC 100% of fair market value, up to
any applicable statutory limit
Wedding rings, engagement ring, $4,000.00 $3,750.00 11 U.S.C. § 522(d)(4)
watch _—_=- 2
Line from Schedule A/B: 12.1 Cl 100% of fair market value, up to
any applicable statutory limit
Dog and cat $10.00 mw $10.00 11 U.S.C. § 522(d)(3)

Line from Schedule A/B: 13.1

O 400% of fair market value, up to
any applicable statutory limit

Line from Schedule A/B: 14.1
O 100% of fair market value, up to
any applicable statutory limit

Fast Flow Plumbing, LLC Unknown $0.00 11 U.S.C. § 522(d)(5)
100 % ownership
Line from Schedule A/B: 19.1 XC) 100% of fair market value, up to
any applicable statutory limit
#37. LEGAL OR EQUITABLE Unknown $0.00 11 U.S.C. § 522(d)(5)
INTEREST IN ANY BUSINESS
RELATED PROPERTY: CL) 100% of fair market value, up to
2005 Chevolet Express, 2014 any applicable statutory limit

Chevrolet Express, 2015 Ford
Taurus, 2016 Chevrolet Colorado,
2020 Express Trailer T1021875,
Excavator 1 - KXO33-4, Air
Compressor

Line from Schedule A/B: 38.1

2000 Pontiac 2FV87 $12,000.00 11 U.S.C. § 522(d)(5)
Line from Schedule A/B:

HE 100% of fair market value, up to
any applicable statutory limit

Lincoln Mutual Life Insurance $50,000.00 o 11 U.S.C. § 522(d)(7)
Line from Schedule A/B:

M 100% of fair market value, up to
any applicable statutory limit

3. Are you claiming a homestead exemption of more than $189,050?
(Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

H No

O_ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
O No
O Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of 3
Case 24-50512-grs Doc27 Filed 05/14/24 Entered 05/14/24 12:04:15 Desc Main
Document Page 3of3

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Official Form 106C Schedule C: The Property You Claim as Exempt page 3 of 3
